                      Case 2:23-cv-00450-KFP Document 7 Filed 07/31/23 Page 1 of 1

                                         UNITED STATES DISTRICT COURT
                                           MIDDLE DISTRICT OF ALABAMA
                                                   OFFICE OF THE CLERK
                                             ONE CHURCH STREET, ROOM B-110
                                             MONTGOMERY, ALABAMA 36104

TREY GRANGER, CLERK                                                                      TELEPHONE (334) 954-3600


                                                   July 31, 2023

                                            NOTICE OF ASSIGNMENT



         To:     All Counsel of Record



         Re:      Yellowhammer Fund v. Marshall
                  Civil Action No. 2:23-cv-00450



         The above-styled case has been assigned to Judge Kelly F. Pate as presiding judge.

         Please note that the case number is now 2:23-cv-00450-KFP. The new case number should be
         used on all future correspondence and pleadings.
